                                                                                     DISTRICT OF OREGON
                                                                                          FILED
                                                                                       September 25, 2018
                                                                                   Clerk, U.S. Bankruptcy Court


IT IS ORDERED that if no response or withdrawal of the objection is filed within 35 days from the date
in the ‘FILED’ stamp above, the objection will be sustained without further order and the claim will be
treated as provided in paragraph 3 below.

IT IS FURTHER ORDERED that, within 5 days of the ‘FILED’ date of this order, the objecting party
must serve, as necessary, this objection with the Notice of Objection of Claim and file a separate
certificate of service.




                                                                       _______________________________________
                                                                                 PETER C. McKITTRICK
                                                                                 U.S. Bankruptcy Judge



                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF OREGON

    In re                                                     )
                                                              )                 16-33185-pcm7
                                                                  Case No. ______________________
     PETER SZANTO,                                            )
                                                              )
                                                              )   OBJECTION TO CLAIM, AND
                                                              )   ORDER THEREON
                                                              )
                                                              )
    Debtor(s)                                                 )



    1.   The undersigned objects to Claim No.     2     filed in the amount of $      8,788.15       by:

                     Santa Lucia Community Association
    Claimant’s name: ______________________________________________________________

      Proof of Claim Notice Address:                     FRBP 7004(h) Service Address, if
                                                         applicable (objecting party must serve)
     Santa Lucia Community Association
     c/o 15241 Laguna Canyon Road                       FirstService Agent Corporation
     Irvine, CA 92618                                   c/o Sarah Alhara, Authorized Employee
                                                        15241 Laguna Canyon Road
                                                        Irvine, CA 92618




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2.   The undersigned objects to such claim on the ground(s) it (check all applicable sections):

        Duplicates Claim No.               filed by _______________________________________

        Fails to assert grounds for priority.

        Was not filed on behalf of a real party in interest (e.g., does not include a copy of the
        assignment(s) upon which it is based).

        Appears to include interest or charges accrued after the filing.

        Appears that value of collateral exceeds debt.

        Arrearage asserted is incorrect.

        The creditor filed a secured claim, but neither: (a) specified that any portion of the claim
        should be treated as unsecured nor (b) requested a hearing to determine the value of their
        collateral, and therefore the trustee objects to any portion of the claim being treated as
        unsecured.

        The creditor filed a claim for taxes assessed against real or personal property of the
        debtor(s). The undersigned represents that the interest of the estate in the real or personal
        property against which the above taxes were assessed has no value in that the estate has
        no equity or interest in such property, and so under the provisions of 11 U.S.C. §502(b)
        no order can be made for payment of such taxes.

        Proof of claim does not include documentation required by FRBP 3001(c) and (d) (e.g., a
        copy of the note, or documents establishing secured status).
                  Santa Lucia Community Association filed its secured claim for unpaid HOA dues
        Other:
                  with its collateral being the real property located at 11 Shore Pine, Newport Beach,
                  CA 92657. Since the Trustee has abandoned the real property effective 8/29/18, the
                  collateral which is the subject of the secured claim has been abandoned back to
                  the debtor. HOA fees will be paid to claimant when debtor sells the residence.

3.   The undersigned recommends said claim be (check applicable box(es)):

        Disallowed in full.

        (If objection is based on failure to provide documentation) Disallowed for distribution: If an
        amended claim including the required documentation is not filed within 30 days of the filed
        date noted above, no distribution on account of the claim will be made by the trustee or
        debtor.

        Allowed as a SECURED claim for $                 a PRIORITY UNSECURED claim
        for $                   ; AND a NONPRIORITY UNSECURED claim for $          .
        [You must fill in each blank even if it is $0.]

        (If amount of arrearage is contested) The amount of the arrearage is $                       .




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4.   THE UNDERSIGNED CERTIFIES THAT:

     a. The undersigned will make any required service of this objection and file a separate
        certificate of service.

     b. If this objection is filed in a chapter 11 case, the undersigned has complied with LBR
        3007-1(b)(2) (requiring pre-filing conferral).

     c. A copy of any Withdrawal of this Objection will be served on all parties that were served
        a copy of this Objection (i.e., the U.S. Trustee, any trustee, debtor(s), the creditor at the
        address shown above, and their respective attorneys; and, if the creditor is a federal
        agency, on the U.S. Attorney for the District of Oregon and the U.S. Attorney General).



DATE:      09/24/18      /s/ Stephen P. Arnot, Chapter 7 Trustee
                         _________________________________________________________
                         Objecting Party Signature AND Relation to Case
                         Stephen Arnot, PO Box 1963, Lake Oswego, Oregon 97035
                         _________________________________________________________
                         Objecting Party Name AND Service Address (Type or Print)
                         503-228-7967
                         _________________________________________________________
                         Objecting Party Phone Number
                         _________________________________________________________
                         (If Debtor is Objecting Party) Debtor’s Address AND Taxpayer I.D.#(s)
                         (last 4 digits)




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